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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,
                                                               File No: 1:07-CR-261-08
v.
                                                               HON. ROBERT J. JONKER
ROBERT JOSEPH CARR, JR.,

                Defendant.
                                         /

                              ORDER AND JUDGMENT
                     APPROVING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action (docket # 155), and the transcript of the plea hearing. The Report

and Recommendation was served on the parties, and no objection has been filed within the time

required by law. Based on this, and on the Court’s review of the transcript and all matters of record,

IT IS ORDERED that:

         1.     The Report and Recommendation of the Magistrate Judge (docket # 155) is approved

and adopted as the Opinion and Findings of this Court.

         2.     Defendant Robert Joseph Carr, Jr.'s plea of guilty to the Superseding Indictment is

accepted. Defendant Robert Joseph Carr, Jr. is adjudicated guilty and bond will be revoked at the

time of reporting.

         3.     Defendant Robert Joseph Carr, Jr. shall report to the United States Marshal in Grand

Rapids, Michigan, at 2:00 p.m., June 10, 2008. Defendant Robert Joseph Carr, Jr. shall be detained

pending sentencing, based on the mandatory provisions of 18 U.S.C. § 3143(a).

         4.     There is no written plea agreement in this case.




Dated:        June 4, 2008                     /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               UNITED STATES DISTRICT JUDGE
